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                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES – GENERAL                              ‘O’
     Case No.        2:15-cv-05642-CAS (JCx)                               Date     August 13, 2018
     Title           MARCUS GRAY ET AL. V. KATY PERRY ET AL.



     Present: The Honorable            CHRISTINA A. SNYDER
              Catherine Jeang                                Laura Elias                           N/A
               Deputy Clerk                         Court Reporter / Recorder                    Tape No.

             Attorneys Present for Plaintiffs:                       Attorneys Present for Defendants:
                           Michael Kahn                                      Christine Lepera
                           Daniel Blakey                                          Aaron Wais
                                                                                  Alana Srour
     Proceedings:               DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT (Filed
                                June 25, 2018, Dkt. 270); JOINDER (Filed 06/25/2018, Dkt. 283)

I.       INTRODUCTION
       On July 1, 2014, Marcus Gray (P.K.A. Flame), Lecrae Moore (P.K.A. Lecrae),
Emanuel Lambert, and Chike Ojukwu filed this action alleging that the song “Dark
Horse” infringes upon plaintiffs’ copyright in the song “Joyful Noise.” Dkt. 1. Since
then, plaintiffs have amended their pleadings to add or dismiss various parties. The
operative Third Amended Complaint (“TAC”), filed on November 1, 2016, no longer
lists Moore as a plaintiff and alleges copyright infringement by Katheryn Elizabeth
Hudson (P.K.A. Katy Perry, hereinafter “Perry”); Jordan Houston (P.K.A. Juicy J);
Lukasz Gottwald (P.K.A. Dr. Luke); Sarah Theresa Hudson; Karl Martin Sandberg
(P.K.A. Max Martin); Henry Russell Walter (P.K.A. Cirkut); Kasz Money, Inc.; Capitol
Records, LLC; Kitty Purry, Inc.; UMG Recordings, Inc.; Universal Music Group, Inc.;
WB Music Corp.; BMG Rights Management (US) LLC; and Kobalt Music Publishing
America, Inc. Dkt. 172.
     On June 25, 2018, Gottwald, Houston, Hudson, Sandberg, Walter, Capital
Records, Kasz Money, Kobalt Music Publishing America, UMG Recordings, Universal
Music Group, and WB Music filed the instant motion for summary judgment. Dkt. 270.
Defendants simultaneously filed a memorandum in support of the motion for summary



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judgment, dkt. 274 (“MSJ”), a request for judicial notice,1 dkt. 275, and a separate
statement of uncontroverted facts and conclusions of law, dkt. 273-1 (“DSUF”). On the
same day, Perry and Kitty Purry filed a joinder to the motion for summary judgment.
Dkt. 283.
       On July 16, 2018, plaintiffs filed an opposition to the motion for summary
judgment, dkt. 286 (“Opp’n), and a statement of genuine disputes of facts, dkt. 287
(“PGDF”). On August 6, 2018, defendants filed a reply, dkt. 296 (“Reply”), evidentiary
objections to declarations, exhibits, and other evidence cited by plaintiffs in support of
their opposition brief, dkt. 297, and a response to plaintiffs’ statement of genuine disputes
of fact, dkt. 298.
       The Court held a hearing on August 13, 2018. Having carefully considered the
parties’ arguments, the Court finds and concludes as follows.
II.   BACKGROUND
      The following facts are not meaningfully disputed and are set forth for purposes of
background. Unless otherwise noted, the court references only facts that are
uncontroverted and as to which evidentiary objections have been overruled.
      A.        Plaintiffs’ Creation and Dissemination of “Joyful Noise”
      Plaintiffs Marcus Gray, Chike Ojukwu, and Emanuel Lambert are Christian
rap/hip-hop artists. DSUF No. 1. Third-party Lecrae Moore is also a Christian rap/hip-
hop artist. DSUF No. 3. In 2007, Ojukwu composed and recorded the beat that would
become the musical bed for the composition “Joyful Noise,” and Gray, Lambert, and
Moore wrote and recorded the lyrics and hook for “Joyful Noise” over Ojukwu’s beat.
DSUF Nos. 4, 5.
       A recording of the composition “Joyful Noise” appears on Gray’s album Our
World Redeemed, which was published in March 2008. DSUF No. 6. On June 3, 2014,
the United States Copyright Office issued a Certificate of Registration No. PA-1-900-321
for the copyright of the “Joyful Noise” composition. DSUF No. 8. The album debuted at

      1
        The Court grants defendants’ request for judicial notice of both the Magistrate
Judge’s Report and Recommendation and an Order filed with the court in Copeland v.
Bieber, Civil Action No. 2:13cv246 (E.D. Va. November, 14, 2016) (Dkt. Nos. 218, 223).
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#5 on the Billboard Gospel Chart and #1 on the Christian Music Trade Association
(CMTA) R&B/Hip-Hop Chart. PGDF Nos. 6, 7. In January 2009, the album was a
nominee for Rap/Hip-Hop Gospel Album of the Year at the Stellar Award Show held at
the Grand Ole Opry in Nashville, Tennessee. PGDF No. 8. In February 2009, the album
was also a nominee for Best Rock or Rap Gospel Album at the 51st Annual Grammy
Awards Show. PGDF No. 9. And in April 2009, the song “Joyful Noise” was a nominee
for Best Rap/Hip-Hop Song of the Year at the 40th GMA Dove Awards. PGDF No. 12.
      The record does not contain evidence showing that plaintiffs sold or otherwise
commercially released “Joyful Noise” or the album Our World Redeemed. DSUF Nos. 7,
17, 18, 20. But at least five videos containing “Joyful Noise” were uploaded to
YouTube. PGDF No. 32. As of March 11, 2012, the “Joyful Noise” videos uploaded to
YouTube had a collective total of 1,365,041 views. PGDF No. 44. The videos are
categorized under “music” on their respective YouTube.com webpages. PGDF No. 45.
The “Joyful Noise” video was also posted on the Myspace pages of Moore and Gray.
PGDF Nos. 52, 55. As of September 7, 2011, “Joyful Noise” had been played 1,531,856
times on Moore’s Myspace page. PGDF No. 53. And as of January 24, 2012, the video
had been played 933,868 times on Gray’s Myspace page. PGDF No. 54.2
      B.       The Defendants’ Creation of “Dark Horse”
     The writers of the musical composition “Dark Horse” are Walter, Gottwald,
Sandberg, Perry, Hudson, and Houston (“‘Dark Horse’ Writers”). DSUF No. 9.
      Over the course of a single day in March 2013, Walter and Gottwald created an
instrumental musical track at Conway Studios in Los Angeles, California, which became


      2
        Defendants raise numerous evidentiary objections to plaintiffs’ declarations. The
Court OVERRULES defendants’ relevance-based and prejudice-based objections 2, 3, 4,
6, 11, 13, 14, 15, 16, 20, 21, 22, 23 because it finds the objected-to evidence to be
relevant and not prejudicial. The Court also OVERRULES defendants’ objections 11,
21, 21, 22 based on lack of foundation, lack of personal knowledge, or lack of
authentication. The Court also OVERRULES defendants’ hearsay-based objection 20
because defendants’ counsel explained during the hearing that defendants were conceding
this objection for purposes of this motion. The Court need not reach defendants’ other
evidentiary objections because the Court does not rely on the objected-to evidence.

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the musical bed for “Dark Horse.” DSUF No. 10. In the summer of 2013, Perry,
Hudson, and Sandberg, in collaboration with Gottwald and Walter, created the sung vocal
melody and lyrics for “Dark Horse” and Houston wrote and recorded the rap vocal
portion over the instrumental track. DSUF Nos. 13, 14. Gottwald and Walter fine-tuned
and polished the production of “Dark Horse.” DSUF No. 15.
     A recording of “Dark Horse” was released commercially in September and
October 2013, both as a single and as a track on Perry’s album, Prism. DSUF No. 16.
       It is undisputed that the “Dark Horse” Writers have never met, received music
from, attended concerts by, or watched television interviews of Gray, Lambert, Ojukwu,
or Lecrae. DSUF Nos. 45, 46, 47. The “Dark Horse” Writers claim that prior to writing
“Dark Horse,” they had never heard of any of the plaintiffs nor had they listened to any of
plaintiffs’ music, including “Joyful Noise.” Dkt. 276, Declaration of Henry Walker
(“Walker Decl.”) ¶¶ 7, 8; Dkt. 277, Declaration of Lukasz Gottwald (“Gottwald Decl.”)
¶¶ 6, 7; Dkt. 279, Declaration of Sarah Hudson (“Hudson Decl.”) ¶¶ 8, 9; Dkt. 278,
Declaration of Perry (“Perry Decl.”) ¶¶ 8, 9; Dkt. 280, Declaration of Karl Sandberg
(“Sandberg Decl.”) ¶¶ 8, 9; Dkt. 281, Declaration of Jordan Houston (“Houston Decl.”)
¶¶ 7, 8. The “Dark Horse” Writers also claim that during the relevant time period, they
were not “in the practice of” listening to or searching for Christian music. Walter Decl. ¶
10; Gottwald Decl. ¶ 9; Hudson Decl. ¶ 11; Perry Decl. ¶ 11; Sandberg Decl. ¶ 11;
Houston Decl. ¶ 10.
       Plaintiffs dispute defendants’ claim that they had not heard “Joyful Noise” prior to
writing “Dark Horse,” as the gravamen of plaintiffs’ case against defendants is that the
defendants copied “Joyful Noise” when they wrote “Dark Horse.”
III.   LEGAL STANDARDS
       Summary judgment is appropriate where “there is no genuine dispute as to any
material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.
56(a). The moving party bears the initial burden of identifying relevant portions of the
record that demonstrate the absence of a fact or facts necessary for one or more essential
elements of each claim upon which the moving party seeks judgment. See Celotex Corp.
v. Catrett, 477 U.S. 317, 323 (1986).
       If the moving party meets its initial burden, the opposing party must then set out
specific facts showing a genuine issue for trial in order to defeat the motion. Anderson v.

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Liberty Lobby, Inc., 477 U.S. 242, 250 (1986); see also Fed. R. Civ. P. 56(c), (e). The
nonmoving party must not simply rely on the pleadings and must do more than make
“conclusory allegations [in] an affidavit.” Lujan v. Nat'1 Wildlife Fed'n, 497 U.S. 871,
888 (1990); see also Celotex, 477 U.S. at 324. Summary judgment must be granted for
the moving party if the nonmoving party “fails to make a showing sufficient to establish
the existence of an element essential to that party's case, and on which that party will bear
the burden of proof at trial.” Id. at 322; see also Abromson v. Am. Pac. Corp., 114 F.3d
898, 902 (9th Cir. 1997).
        In light of the facts presented by the nonmoving party, along with any undisputed
facts, the Court must decide whether the moving party is entitled to judgment as a matter
of law. See T.W. Elec. Serv., Inc. v. Pac. Elec. Contractors Ass'n, 809 F.2d 626, 631 &
n.3 (9th Cir. 1987). When deciding a motion for summary judgment, “the inferences to
be drawn from the underlying facts . . . must be viewed in the light most favorable to the
party opposing the motion.” Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S.
574, 587 (1986) (citation omitted); Valley Nat'l Bank of Ariz. v. A.E. Rouse & Co., 121
F.3d 1332, 1335 (9th Cir. 1997). Summary judgment for the moving party is proper
when a rational trier of fact would not be able to find for the nonmoving party on the
claims at issue. See Matsushita, 475 U.S. at 587.
IV.   DISCUSSION
      To establish copyright infringement, plaintiffs must show (1) ownership of the
copyright; and (2) that defendant copied protected elements of their work. Swirsky v.
Carey, 376 F.3d 841, 844 (9th Cir. 2004). Plaintiffs’ ownership of a copyright of “Joyful
Noise” is not in dispute. DSUF No. 8, Wais Decl. ¶ 22, Ex. 21(Gray Deposition), Ex.1 to
Gray Depo; PGDF No.1.
       Where, as here, there is no direct evidence of copying, “proof of infringement
involves fact-based showings that the defendant had ‘access’ to the plaintiff’s work and
that the two works are ‘substantially similar.’” Three Boys Music Corp. v. Bolton, 212
F.3d 477, 481 (9th Cir. 2000).
      A.       Access
      “To prove access, a plaintiff must show a reasonable possibility, not merely a bare
possibility, that an alleged infringer had the chance to view the protected work.” Art
Attacks Ink, LLC v. MGA Entm’t Inc. (“Art Attacks II”), 581 F.3d 1138, 1143 (9th Cir.

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2009). “Of course, reasonable opportunity as here used, does not encompass any bare
possibility in the sense that anything is possible. Access may not be inferred through
mere speculation or conjecture. There must be a reasonable possibility of viewing the
plaintiff's work—not a bare possibility.” Three Boys, 212 F.3d at 482 (quoting 4
Nimmer on Copyright, § 1302[A]).
       Where there is no direct evidence of access, circumstantial evidence can be used to
prove access either by (1) a particular chain of events between the plaintiffs’ work and
the defendants’ access to that work (such as through dealings with a publisher or record
company) or (2) showing that the plaintiffs’ work has been widely disseminated. Id.
Plaintiffs’ theory of access in this case focuses on the latter—widespread dissemination.
Opp’n at 1.
        Defendants first argue that plaintiffs have a high burden to prove “widespread
dissemination” and that the plaintiffs’ work must be so popular that it can be reasonably
assumed that defendants could not have avoided hearing it. MSJ at 17-18. Accordingly,
defendants argue that plaintiffs have not met this high burden. However, the Court
observes that plaintiffs’ burden at this juncture is not so high. All plaintiffs must do here
is set out specific facts showing a genuine issue for trial as to whether there is a
reasonable possibility that defendants had the chance to view the protected work. See
Anderson, 477 U.S. at 250; Art Attacks II, 581 F.3d at 1143.
      In response to defendants’ argument that the record lacks the type of proof that is
necessary to infer access, plaintiffs point to evidence showing that prior to the creation of
“Dark Horse,” “Joyful Noise” videos had amassed nearly four million online views.
Opp’n at 4. Plaintiffs note that the “Joyful Noise” videos on YouTube were categorized
as “music” and not as Christian hip-hop. Opp’n at 7. Plaintiffs also offer evidence
showing that “Joyful Noise” enjoyed popularity and acclaim in the Christian music
industry. Opp’n at 8-9.3


      3
        Plaintiffs’ opposition brief also references claims by Moore and Gray that they
performed “Joyful Noise” around the country and that an excerpt of the song was played
whenever Gray had an interview with a radio or television station during his tour. Opp’n
at 8. Plaintiffs do not dispute that the “Dark Horse” Writers never attended any concerts
by Moore or Gray or that they had never seen Moore or Gray interviewed on television.
DSUF Nos. 47, 48. The record lacks any evidence identifying the names of the television
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       In turn, defendants urge the Court to discount the importance of the YouTube and
Myspace view and play counts because, according to defendants, such counts are
meaningless as they do not convey exactly how many unique humans viewed the videos.
MSJ at 22. Defendants also rely heavily on Loomis v. Cornish, 2013 U.S. Dist. LEXIS
162607, at *41 (C.D. Cal. Nov. 13, 2013) aff’d Loomis v. Cornish, 836 F.3d 991 (9th Cir.
2016), in which the Court explained that, “[a]s a general matter, it appears that in order
for a work to be widely disseminated, it must achieve a high degree of commercial
success or be readily available in the relevant market.”4 Defendants then argue that the
Christian hip-hop and rap market is so niche that the success of “Joyful Noise” in that
market has no bearing on the possibility that defendants could have accessed the song.
Defendants also contend that “Joyful Noise” did not achieve widespread dissemination
because of its lack of commercial success. MSJ at 17-19.
      Drawing all reasonable inferences in the light most favorable to plaintiffs, the
Court finds that there is a reasonable possibility that defendants had access to “Joyful
Noise” through its alleged widespread dissemination.
    The Court acknowledges that the mere existence of copyrighted materials on
YouTube and Myspace would not justify an inference of access. Indeed, courts in this

and radio stations that Gray claims to have been interviewed by, as well as evidence
identifying the names of the venues where Gray performed or the size of the audience at
any of his performances. Thus, at this juncture, the Court does not rely on this evidence
insofar as it may demonstrate access. Plaintiffs also try to draw a link between Perry and
the Christian music industry by citing to a Rolling Stones article that describes Perry’s
history as a Christian artist prior to 2002. While the Court may take judicial notice of a
magazine article, it can do so only to “indicate what was in the public realm at the time,
not whether the contents of those articles were in fact true.” Von Saher v. Norton Simon
Museum of Art at Pasadena, 592 F.3d 954, 960 (9th Cir. 2010) (citing Premier Growth
Fund v. Alliance Capital Mgmt., 435 F.3d 396, 401 n.15 (3d Cir. 2006)). As plaintiff
requests judicial notice of the facts contained within these articles, the request is
DENIED.
      4
         The Court also finds that the facts in Loomis are unhelpful in guiding the instant
case. The song at issue in Loomis appears to have never gained much popularity outside
of a brief spate of airplay in Santa Barbara.

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district have found that evidence limited to the posting of a video online is insufficient to
support a finding of access. See, e.g., Loomis, 2013 U.S. Dist. LEXIS 162607, at *47
(“The availability of a copyrighted work on the Internet, in and of itself, is insufficient to
show access through widespread dissemination.”); Batts v. Adams, 2011 U.S. Dist.
LEXIS 161402, at *11-12 (C.D. Cal. Feb. 8, 2011) (finding that access was not
established by evidence that the plaintiffs’ song was posted on YouTube, Amazon.com
and iTunes); Hayes v. Keys, 2015 U.S. Dist. LEXIS 2860, at *7 (C.D. Cal. Jan. 7, 2015)
(finding that access was not established by the plaintiffs’ sole allegation that the work
was uploaded to YouTube). But the Court is persuaded that plaintiffs have shown more
than just mere posting of “Joyful Noise” on the internet. Due to the millions of views and
plays of “Joyful Noise” on YouTube and Myspace, both readily accessible websites, and
the success and popularity of “Joyful Noise” in the Christian hip-hop/rap industry, a
reasonable jury could conclude that there is more than a “bare possibility” that
defendants—who are experienced professional songwriters—had the opportunity to hear
“Joyful Noise.”
       The Court recognizes that the record does not show that “Joyful Noise” was
commercially exploited. Although the Ninth Circuit in Loomis noted that “[i]n most
cases, the evidence of widespread dissemination centers on the degree of a work’s
commercial success and on its distribution through radio, television, and other relevant
mediums,” 836 F.3d at 997, it also acknowledged that “[t]he evidence required to show
widespread dissemination will vary from case to case,” id. (quoting L.A. Printex Indus.,
Inc. v. Aeropostale, Inc., 676 F.3d 841, 847 (9th Cir. 2012)). Although defendants insist
that a showing of commercial exploitation is necessary to prove access, such reasoning
would make it permissible to infringe on a copyrighted work simply because it was never
for sale. So while plaintiffs have not shown evidence of commercial success, they have
demonstrated a triable issue of fact as to access because “Joyful Noise” achieved critical
success, including a Grammy nomination, and was readily available and viewed millions
of times on YouTube and Myspace. Defendants’ concerns about the meaningfulness of
the YouTube and Myspace view counts, the distinctiveness of the Christian music
market, and the lack of commercial activity are questions of fact to be resolved by the
jury.
       Defendants also argue that plaintiffs cannot rebut defendants’ own testimony that
they independently created “Dark Horse,” and that therefore, plaintiffs’ claim for



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copyright infringement fails.5 MSJ at 23. However, the Court observes that the strength
of defendants’ evidence concerning independent creation is a factual issue for the jury to
determine at trial, and is not an issue suited for determination at this stage. See Three
Boys, 212 F.3d at 486 (“By establishing reasonable access and substantial similarity, a
copyright plaintiff creates a presumption of copying. The burden shifts to the defendant
to rebut that presumption through proof of independent creation.”).
      B.      Substantial Similarity
       In order to determine whether two works are substantially similar, the Ninth
Circuit employs a two-part analysis consisting of an objective extrinsic test and a
subjective intrinsic test. Swirsky, 376 F.3d at 845. “For the purposes of summary
judgment, only the extrinsic test is important because the subjective question whether
works are intrinsically similar must be left to the jury.” Id. The extrinsic test “requires
that the plaintiff identify concrete elements based on objective criteria” and “often
requires analytical dissection of a work and expert testimony.” Three Boys, 212 F.3d at
485. The extrinsic test demands similarity in “protected elements of the copyrighted
work . . .” Swirsky, 376 F.3d at 845 (emphasis in original). Thus, “it is essential to
distinguish between the protected and unprotected material in a plaintiff's work.” Id.
      The Ninth Circuit has never announced a uniform set of factors for analyzing a
musical composition under the extrinsic test. Id. at 849. This is because a musical
composition can be comprised of a number of otherwise unprotectable elements,
including lyrics, rhythm, pitch, cadence, melody, harmony, tempo, phrasing, structure,
chord progression, instrumental figures, and others. Id. “Music, like software programs
and art objects, is not capable of ready classification into only five or six constituent




      5
        The Court acknowledges that the “Dark Horse” Writers claim that they had never
heard “Joyful Noise” before writing “Dark Horse.” The defendants in Three Boys also
insisted that they had not heard the song that they had been accused of copying. 212 F.3d
at 484. But even if defendants cannot remember hearing “Joyful Noise,” the Ninth
Circuit recognizes that copyright infringement of a popular song can be subconscious.
See id. at 483.

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elements; music is comprised of a large array of elements, some combination of which is
protectable by copyright.” 6 Id. (emphasis added).
        In support of their argument concerning substantial similarity, plaintiffs rely upon
the report submitted by their musicologist expert, Todd Decker, Ph.D.7 Dkt. 282,
Declaration of Aaron M. Wais (“Wais Decl.”) ¶ 5, Ex. 3 (“Decker Report”). Decker
opines that the “most obvious, pervasive, and substantial similarity” between the two
songs is a “descending ostinato8 figure which serves as the primary formal building block
for both tracks.” Decker Report at 4. According to Decker, the ostinatos in both songs
are identical in phrase length as both use two-bar units of eight beats in length, identical
in rhythm as both use eight even quarter notes in duple meter time in a stiff and
mechanical style, and remarkably similar in the timbre of the upper and primary voice.
Id. at 4-6. Decker further explains that both ostinatos are nearly identical in pitch content
and melodic contour. Id. at 5. Decker also identifies differences in the ostinatos but



      6
         Defendants cite Satava v. Lowry, 323 F.3d 805, 811 (9th Cir. 2003) for the
proposition that a combination of unprotectable elements is only eligible for protection
“if those elements are numerous enough and their selection and arrangement original
enough that their combination constitutes an original work of authorship.” The Ninth
Circuit recently distinguished music, which is comprised of a large array of elements,
from the glass-in-glass jellyfish sculpture at issue in Satava, and declined to deviate from
the substantial similarity standard articulated in Swirsky in musical infringement suits.
Williams v. Gaye, 895 F.3d 1106, 1120 (9th Cir. 2018). To the extent the defendants
seek to persuade the Court to deviate from the substantial similarity standard as it is
articulated in Swirsky, the Court declines to do so.
      7
        The Court finds that Decker is qualified to offer an opinion regarding the
similarity of “Joyful Noise” and “Dark Horse.” Decker holds a Ph.D. in musicology
from the University of Michigan and has published research involving musical borrowing
in popular songs. Decker Report at 2-3.
      8
        Decker defines “ostinato” as “a fairly short melodic, rhythmic, or chordal pattern
repeated continuously throughout a piece or section.” Decker Report at 2 (quoting Oxford
Companion to Music, 2002).

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explains that they are trivial and can be partially explained by the different generic
context of the two songs. Id. at 7.
       Decker concludes that the “ostinato in Dark Horse clearly borrows a memorable
and highly characteristic combination of discrete and specific musical elements heard in
Joyful Noise” and that “[g]iven the important structural function and expressive use of
the ostinato in Dark Horse, Joyful Noise can be said to have provided essential and highly
characteristic musical materials for Dark Horse.” Id. at 15.
      Defendants, in turn, rely on the report of their musicology expert, Lawrence
Ferrara, Ph.D., who opined that “‘Dark Horse’ does not share any significant structural,
harmonic, rhythmic, melodic, or lyrical similarities, individually or in combination, with
‘Joyful Noise.’” Dkt. 282, Declaration of Aaron M. Wais (“Wais Decl.”) Wais Dec. ¶ 6,
Ex. 6 at 65 (“Ferrara Report”).
       The Court finds that Decker’s expert testimony is sufficient to raise a genuine issue
of material fact as to substantial similarity. As in Three Boys, Decker has identified
particular features of the works which, taken in combination, could support a finding of
substantial similarity by a reasonable jury. Three Boys, 212 F.3d at 485 (upholding jury
verdict based upon a combination of five unprotectable elements). Although Decker’s
opinions are contradicted or challenged by defendants’ expert, Ferrara, all plaintiffs must
do to defeat summary judgment is provide “indicia of a sufficient disagreement
concerning the substantial similarity of the two works.” Swirsky, 376 F.3d at 846
(quoting Brown Bag Software v. Symantec Corp., 960 F.2d 1465, 1472 (9th Cir. 1992)).
      Furthermore, the Court is largely unconvinced by defendants’ criticisms of Decker.
      First, defendants argue, without citation to legal authority, that Decker failed to
properly apply the methodology of the extrinsic test because he did not transcribe the
musical similarities of the two compositions into musical notation.9 MSJ at 26. “The


      9
         Defendants object to Decker’s expert report on Federal Rule of Evidence 702
grounds due to Decker’s methodology. At this juncture, it does not appear that Decker’s
decision not to reduce the “Joyful Noise” and “Dark Horse” compositions to musical
notation precludes him from rendering an opinion on the alleged similarities between the
two compositions. Defendants also object to Decker’s allegedly improper opinion on the
intrinsic test during his deposition testimony and in his rebuttal report. The Court did not
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extrinsic test considers whether two works share a similarity of ideas and expression as
measured by external, objective criteria.” Swirsky, 376 F.3d at 845. As stated earlier,
the Ninth Circuit does not require a uniform set of factors to be utilized in analyzing a
musical composition under the extrinsic test. Id. Without transcribing the works into
musical notation, Decker identified concrete elements of the ostinatos including phrase
length, rhythm, pitch content, and timbre. Decker also explained his reasons for
depicting the pitch content of the two songs with scale degrees instead of musical
notations:
      Pitch content in this context is best understood by way of scale degrees, which
      allow for comparison to be made despite the difference in key between the
      two tracks and without using musical notation. Scale degrees at once speak
      to the melodic contour (the shape of a melody) and the harmonic function of
      given pitches in the tonal music system (as specific scale degrees inherently
      suggest either the need for further motion or arrival at a point of rest).
Decker Report at 5. The Court concludes that although Decker did not transcribe the two
songs into musical notation, he nonetheless engaged in an analysis of external, objective
criteria of both songs through his evaluation of elements such as phrase length, rhythm,
pitch content, and timbre.
       Defendants then argue that Decker did not extract unprotectable musical elements
from his comparison of the two songs nor did he explain how the combination of
elements in the ostinato of “Joyful Noise” constitutes protectable expression. MSJ at 27-
28. The Court acknowledges that certain elements Decker relies upon to support his
opinion on substantial similarity may be unprotectable individually. The Ninth Circuit
has made clear, however, that the extrinsic test can be satisfied by showing copying of a
“combination of unprotectible elements.” Three Boys, 212 F.3d at 485 (emphasis
added); see also Swirsky, 376 F.3d at 851–52 (“Although it is true that a single musical
note would be too small a unit to attract copyright protection (one would not want to give
the first author a monopoly over the note of B-flat for example), an arrangement of a
limited number of notes can garner copyright protection.”). Decker’s report engages in a
comparison of the overlapping similarities of several elements of the ostinatos in both

rely on Decker’s deposition testimony or his rebuttal report in reaching its decision and
therefore does not reach defendants’ objection.

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songs and eventually concludes that “Dark Horse clearly borrows a memorable and
highly characteristic combination of discrete and specific musical elements heard in
Joyful Noise.” Decker at 15. Accordingly, the Court cannot determine as a matter of law
that the overlapping similarities identified by Decker are not protectable musical
expressions.
       In light of the foregoing, the Court finds that there is a genuine issue of material
fact as to whether “Dark Horse” is substantially similar to protectable elements in “Joyful
Noise.”
V.    CONCLUSION
      Consistent with the Court’s findings and conclusions above, defendants’ motion
for summary judgment is DENIED.
      IT IS SO ORDERED.
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                                                  Initials of Preparer              CMJ




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